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Tucson Women’s Center, et al., Case No. CV 09-01909-PHX-DGC

V.

Arizona Medical Board, et al.,

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Plaintiffs,

DECLARATION OF BARBARA WILLIS

Defendants.

 

 

 

DECLARATION OF BARBARA WILLIS

COMES NOW BARBARA WILLIS, and declares as follows:
1. I am an individual having obtained the age of majority and having knowledge of the
statements contained herein.
2. Since 2006, I am the president of The Crisis Pregnancy Centers of Greater Phoenix (“CPC”),
which include five pregnancy resource centers around the Phoenix area. As the President of CPC,
my primary responsibilities are to lead all aspects of the organization, including operations.
3. CPC adheres to the following Mission Statement: “The mission of CPC is to “Save Lives and
Protect Futures’—of the men, women, children, and unborn babies of the greater Phoenix area.”
4. CPC adheres to the following Core Values:
a. We believe in reflecting Christ in all we do and adhering to the Biblical stewardship of all

our resources.

 
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5.
men and women to make informed, healthy choices that will serve to save lives and protect futures]
To that end, CPC Phoenix provides the following individualized and confidential services, either

free of charge or at a very low cost, at all six of its locations:

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h.

CPC’s goal is to present medically accurate and up-to-date information in order to empower

a.

b.

We believe in the sanctity of and reverence for human life; that all life is created by God,
human beings being especially precious, because they are made in God's image, and
therefore human life is valuable from conception until natural death.

We believe in serving our clients regardless of their race, creed, color, religion, national
origin, gender, age, disability, or marital status.

We believe in biblically-based relationships including the value of premarital sexual
abstinence, marriage, and physical and emotional marital fidelity.

We believe in presenting the love of Christ through word and deed.

We believe Board members and Staff must proclaim Christ and have received him as
their Lord and Savior.

We do not believe in recommending, providing for, or referring for abortion of
abortifacients (a substance or device used to induce abortion), except to save the life of
the mother; nor do we believe in recommending, providing, or referring single women for
contraceptives.

We believe in offering assistance free of charge whenever possible.

pregnancy verification and viability through ultrasound
counseling and education to women and families in crisis as a result of an unplanned

pregnancy

 
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j.

k.

testing for sexually transmitted infections (STIs/STDs)

counseling for those who test positive for sexually transmitted infections

counseling for birth parents and their families who are exploring the option of adoption
and ongoing support for those who choose adoption

healing and hope to those who have experienced abortion (abortion recovery counseling)
parenting education

education to youth about premarital sexual abstinence

options education

education and counseling regarding healthy relationships and positive life choices

referrals to and collaboration with other agencies

The basic responsibilities in providing such information and support include the following:

a.

b.

Greet clients cordially and make them feel welcome.

Proceed with the client completing the Client Intake Form, collecting specimen, and
administering pregnancy test.

Interview the client in private, with an atmosphere of acceptance and confidentiality,
letting her set the pace for the interview.

Help her to accept the fact that she had a positive test and help her clarify her feelings.
Discuss alternative ways of dealing with her situation, giving accurate information about
each alternative—pregnancy, abortion, and adoption

Be sensitive when to just listen, when to offer love and acceptance, and when to offer
guidance or correction.

Be willing to share a spiritual viewpoint and the gospel when appropriate.

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h. Know and be able to explain the services offered by The Pregnancy Centers and how to
make appropriate referrals.

i. Encourage her to continue with us for pre-natal and parenting education programs and
services when appropriate.

j. Be familiar with the educational materials such as fetal development charts, available
videos, and appropriate handouts to be given to the client for her situation.

k. Know how to guide a negative test client into possibly exploring her lifestyle and basic
relationship issues, with a view towards considering the option of abstinence.

1. Be aware of the need to keep confidential all client information.

m. Keep proper records.

When a person is facing an unplanned pregnancy, many emotions are competing for center

The role of CPC is to intervene in a way that communicates love, acceptance and concern for

the client’s needs. We provide her with factual information and practical support so she is

empowered to make an informed decision about her pregnancy and related issues.

Having worked in a pregnancy resource center since 2000, it is my experience, as well as that
of our professional medical staff and peer-counselors, that more than 80% of the women who
come to Crisis Pregnancy Centers have little or no knowledge regarding abortion procedures
and risks, including RU486. Those with some knowledge most often state the internet as
their source of information. Nearly 100% are shocked by an animated video entitled, Suction
and Curettage/ Dilation and Evacuation, by Life Dynamics, Inc., which accurately explains

abortion procedures.
As well, more than 80% of women who come to Crisis Pregnancy Centers have little or no

knowledge of fetal development. Upon viewing an ultrasound, they are astounded at the

 
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movement, anatomical development and heartbeat of the baby. Many women who have had
a previous abortion at the same or later stages of development state they were told, “It’s just a
blob of tissue.”

10. I declare under penalty of perjury that the foregoing is true and correct.

Further, the Declarant sayeth naught.

DATED: 21st day of September, 2009.

~

Joop
Ah baie wAlo-—
Barbara Willis

President
The Crisis Pregnancy Centers of Greater Phoenix

 

 
